Case 12-29246   Doc 51   Filed 07/18/13 Entered 07/18/13 15:54:49   Desc Main
                           Document     Page 1 of 8
Case 12-29246        Doc 51    Filed 07/18/13 Entered 07/18/13 15:54:49           Desc Main
                                 Document     Page 2 of 8




                               CERTIFICATE OF SERVICE

       Richard H. Fimoff certifies that he caused to be served a true copy of the above and
foregoing notice and attached motion upon:

        Joseph E Cohen     jcohen@cohenandkrol.com,
         jcohen@ecf.epiqsystems.com;jcohenattorney@aol.com

        Joseph E Cohen     jcohen@cohenandkrol.com,
         jcohen@ecf.epiqsystems.com;jcohenattorney@aol.com

        Richard H Fimoff     rfimoff@rsplaw.com, fb@rsplaw.com

        Gina B Krol     gkrol@cohenandkrol.com,
         gkrol@ecf.epiqsystems.com;gkrol@cohenandkrol.com;jhazdra@cohenandkrol.com;pmc
         hugh@cohenandkrol.com

        Patrick S Layng    USTPRegion11.ES.ECF@usdoj.gov

        Thomas M Lombardo        tlombardo@ginsbergjacobs.com

        Amanda E Losquadro       alosquadro@chuhak.com, mvasquez@chuhak.com

        M. Gretchen Silver     ustpregion11.es.ecf@usdoj.gov,
         gretchen.silver@usdoj.gov;denise.delaurent@usdoj.gov;maria.e.yapan@usdoj.gov

        Timothy R Yueill     timothyy@nevellaw.com

via electronically filing the foregoing with the Clerk of the Court using the CM/ECF system on
July 18, 2013, and via regular mail on July 18, 2013, to all creditors at the addresses listed.

                                                              /s/Richard H. Fimoff




IJ6105
Case 12-29246   Doc 51   Filed 07/18/13 Entered 07/18/13 15:54:49   Desc Main
                           Document     Page 3 of 8
Case 12-29246   Doc 51   Filed 07/18/13 Entered 07/18/13 15:54:49   Desc Main
                           Document     Page 4 of 8
Case 12-29246   Doc 51   Filed 07/18/13 Entered 07/18/13 15:54:49   Desc Main
                           Document     Page 5 of 8
Case 12-29246   Doc 51   Filed 07/18/13 Entered 07/18/13 15:54:49   Desc Main
                           Document     Page 6 of 8
Case 12-29246   Doc 51   Filed 07/18/13 Entered 07/18/13 15:54:49   Desc Main
                           Document     Page 7 of 8
Case 12-29246   Doc 51   Filed 07/18/13 Entered 07/18/13 15:54:49   Desc Main
                           Document     Page 8 of 8
